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                    THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

UNWIRED GLOBAL SYSTEMS
LLC,
                                             CASE NO. 1:23-CV-01171-CFC
       Plaintiff,
                                             PATENT CASE
              v.                             JURY TRIAL DEMANDED

SOFTING NORTH AMERICA
HOLDING, INC.,
       Defendant.

        PLAINTIFF’S NOTICE OF DISMISSAL WITH PREJUDICE

      Plaintiff Unwired Global Systems LLC, pursuant to Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure, hereby provides notice that it dismisses with

prejudice all claims by Plaintiff against Defendant Softing North America Holding,

Inc. Each party shall bear its own costs, expenses, and attorneys’ fees.




Date: November 27, 2023                    Respectfully submitted,


                                           /s/ John C. Phillips, Jr.
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                                       Counsel for Plaintiff
                                       Unwired Global Systems LLC




                SO ORDERED this ________ day of ______________, ______.



                ________________________________
                The Honorable Colm F. Connolly
                Chief, United States District Court Judge
